









Affirmed and Opinion filed June 13, 2002









Affirmed
and Opinion filed June 13, 2002.

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-01-00748-CV

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&nbsp;

MARCUS E. FAUBION, JR.,
Appellant

&nbsp;

V.

&nbsp;

THE COMMISSION FOR LAWYER DISCIPLINE,
Appellee

&nbsp;



&nbsp;

On
Appeal from the 295th District Court

Harris County, Texas

Trial
Court Cause No. No. 96-28990

&nbsp;



&nbsp;

&nbsp;&nbsp; M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
Marcus E. Faubion, Jr. appeals from the attorney=s
fee portion of a judgment in a disciplinary action entered against him.&nbsp; For the reasons stated below, we affirm.&nbsp; Because all dispositive
issues are clearly settled in law, we issue this memorandum opinion.&nbsp; See Tex.
R. App. P. 47.1.&nbsp; 








The
facts of this appeal are known to the parties, so we do not recite them
here.&nbsp; The trial court=s
order included a sanction assessing $13,200 in attorney=s
fees against appellant.&nbsp; See Tex. R.
Discip. P. 1.06(T)(b).&nbsp; He argues the Commission could not recover these&nbsp; fees as it failed to respond timely to
discovery requests for the names and opinions of testifying experts.

Although
the Commission did not provide the requested information in its initial
responses, it supplemented those responses in an unverified letter on May 7,
2001, at least 60 days prior to trial.&nbsp;
Because this supplementation took place after January 1, 1999, it is
governed by the amended rules of discovery.&nbsp;
See Supreme Court Order of November 9, 1998, Misc. Docket No. 98‑9196,
_ 4(d).&nbsp; Those rules allow
unverified supplements unless the requesting party points out the error, and
the responding party refuses to correct it within a reasonable time.&nbsp; Tex. R. Civ. P. 193.5(b).&nbsp; Our record does not show that appellant
objected or the Commission refused to correct the defect.&nbsp; Thus, we find no error or abuse of discretion
by the trial court in allowing this&nbsp;
testimony. 

Appellant has failed to bring forth a full
reporter=s record of the
trial in this case, electing instead to file a two-page excerpt of testimony on
attorney=s fees.[1]&nbsp; Without following the requirements for
limiting an appeal, we must assume the missing portions of the record support
the judgment. Tex. R. App. P.
34.6; see Matthews v. Land
Tool Co., 868 S.W.2d 25, 27 (Tex. App.CHouston
[14th Dist.] 1994, no writ).&nbsp;
Appellant=s point of
error is overruled, and the judgment is affirmed.

&nbsp;

&nbsp;

/s/&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Scott
Brister

Chief Justice

&nbsp;

Judgment rendered and Opinion filed June
13, 2002.

Panel consists of Chief Justice Brister and Justices Anderson and Frost.

Publish C Tex. R. App. P.
47.3(b); TEX. R. DISCIP. P. 6.06.











[1]&nbsp; While appellant
argues that his record excerpt&nbsp; is
sufficient for appellate purposes, his reply brief contains a contingency
request to supplement the record with the entire reporter=s record in the event we determine his present record
is insufficient.&nbsp; The appellate rules do
not recognize such a procedure. It was up to appellant to direct the court
reporter to prepare, certify and file any supplemental record he deemed
necessary to present his appeal. Tex. R.
App. P. 34.6(d).&nbsp; In light of his
failure to avail himself of that rule, we decide this case on the basis of the
record he chose to file. 







